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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


                                      )
SYR’EYE JEFFERIES ppa                 )
MELISSA SANTOS-JEFFERIES              )
           Plaintiff,                 )
                                      )              C.A. No. : 3:17-CV-878-SRU
       v.                             )
                                      )
BCI BURKE COMPANY, LLC,               )
                                      )
       and                            )
                                      )
DESIGN BUILT, LLC                     )
           Defendants.                )
                                      )


                DEFENDANT BCI BURKE COMPANY, LLC’S
      LOCAL RULE 56(a)1 STATEMENT OF UNDISPUTED MATERIAL FACTS

       Pursuant to Local Rule 56(a)1 and 56(a)3, defendant BCI Burke Company, LLC

(hereinafter, “BCI”), hereby identifies the following materials facts which are not in dispute.

       1.       This products liability personal injury matter was brought against BCI and Design

Built, LLC, in the Connecticut Superior Court, Judicial District of New Haven, by service of a

complaint with a return date of May 16, 2017. (See Plaintiff’s Complaint attached hereto as

Exhibit A)

       2.       On May 26, 2017, BCI timely appeared and removed the matter to Federal Court.

(See Docket Sheet, 3:17-CV-878-SRU attached hereto as Exhibit B)

       3.       BCI is a corporation that designs, manufactures, and sells outdoor playground

systems and structures. (See Answer and Affirmative Defenses of Defendant BCI Burke Company,

LLC, at ¶2, attached hereto as Exhibit C).
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       4.       During the relevant time period, BCI designed and sold a playground system called

the Cruiser. (Exhibit C, at ¶2; See Photos of Cruiser attached hereto as Exhibit F).

       5.       Plaintiff asserts that on or about April 11, 2014, minor Syr’Eye Jefferies was

playing on or around a Cruiser at Josh’s Jungle Gym playground in Hamden, Connecticut, when

he fractured his leg. (Exhibit A, at ¶9.)

       6.       Plaintiff Melissa Santos-Jefferies is Syr’Eye Jefferies’ mother. (See Melissa

Santos-Jefferies Dep. 5:25-6:2, Feb. 28, 2018, attached hereto as Exhibit D)

       7.       Melissa Santos-Jefferies was deposed on February 28, 2018, and has provided the

only sworn testimony in connection with this matter to date. (Exhibit D)

       8.       Melissa Santos-Jefferies was sitting on a bench at the opposite side of the

playground, and did not see the incident in which Syr’Eye fractured his leg. (Exhibit D at 20:17-

21:8; 24:11-13)

       9.       The only known witnesses to the incident were Melissa Santos-Jefferies’ minor

children, Syr’Eye, X        , and E         . (Exhibit D at 36:6-37:1)

       10.      On the date of his injury Syr’Eye was 5 years of age, E        was 12, and X

was 8. (Exhibit D, at 7:7-10; 14:12-19.)

       11.      Melissa Santos-Jefferies learned about the incident through her children and there

were no other individuals at the scene that were able to tell her or describe what happened. (Exhibit

D at 22:24-23:2; 36:21-37:1)

       12.      According to Melissa Santos-Jefferies, the playground was crowded that day, with

maybe 25-30 people at the site. (Exhibit D, at 16:1-7)

       13.      An unknown number of people were on the Cruiser at the time of the incident.

(Exhibit D, at 24:11-17)



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       14.       There was nothing about the Cruiser that appeared dangerous or unsafe. (Exhibit

D, at 37:8-16)

       15.       Nothing on the Cruiser appeared broken when Melissa Santos-Jefferies looked at

the Cruiser after the incident. (Exhibit D, at 38:6-11)

       16.       A scheduling order was signed and ordered on July 21, 2017. (See Executed

Scheduling Order attached hereto as Exhibit E)

       17.       The scheduling order dictates that “Plaintiff’s expert reports are due June 30, 2018,

and depositions of Plaintiff’s experts will be completed by July 30, 2018”. (Exhibit E at p.1)

       18.       As of the date of filing of this motion, October 31, 2018, the plaintiff has not

disclosed an expert. (Exhibit B)



Dated this 31st day of October, 2018


                                               Respectfully submitted,
                                               Defendant BCI Burke Company, LLC,
                                               By its Attorneys,


                                               /s/ Kevin W. Hadfield
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                                 CERTIFICATE OF SERVICE

        I, Kevin W. Hadfield, attorney for Defendant BCI Burke Company, LLC, hereby certify
that on October 31, 2018, the foregoing document was filed electronically. Notice of this filing
will be sent by email to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this document through the Court’s CM/ECF System.


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